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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                       Plaintiff,                    Civil Action No. 1-23-cv-01599

       v.

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                      Defendants.

                                    NOTICE OF APPEARANCE

       To the clerk of court and all parties of record:

       PLEASE enter the appearance of Daniel W. Nelson as counsel in the above-captioned

matter on behalf of Defendant Binance Holdings Limited. I certify that I am admitted or otherwise

authorized to practice in this Court.



Dated: June 6, 2023                           Respectfully submitted,

                                                       /s/ Daniel W. Nelson
                                                      Daniel W. Nelson (D.C. Bar #433415)
                                                      dnelson@gibsondunn.com
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                                                      Counsel for Defendant
                                                      Binance Holdings Limited
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 6, 2023, I caused a copy of the foregoing Notice of Appearance

with the Clerk of Court via the CM/ECF system, which will give notice to all counsel of record.



                                              /s/ Daniel W. Nelson
                                             Daniel W. Nelson
                                             (D.C. Bar #433415)
